             Case 23-11131-TMH                  Doc 293          Filed 09/14/23           Page 1 of 1


UNITED STATES BANKRUPTCY COURT                                                                                 Page 1 of 1

DISTRICT OF DELAWARE
PDF FILE WITH AUDIO FILE ATTACHMENT

      23-11131

      Amyris, Inc.




      Case Type :                       bk
      Case Number :                     23-11131
      Case Title :                      Amyris, Inc.
      Judge :                           Thomas M. Horan
      Courtroom :                       3rd Floor Courtroom 7, Wilmington, DE
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